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                    7 ASRC INDUSTRIAL SERVICES, LLC, D2
                      (SQUARED) INDUSTRIAL SERVICES, LLC
                    8 (sued as D2 Industrial Services), and F.D.
                      THOMAS, INC.
                    9
              10                          UNITED STATES DISTRICT COURT
              11                        CENTRAL DISTRICT OF CALIFORNIA
              12 RAFAEL MELENA, JR., individually,         )   Case No. 2:21-cv-06769 PA(Ex)
                 and on behalf of other aggrieved          )
              13 employees pursuant to the California      )   (Removed from:
                 Private General Attorneys Act,            )   Los Angeles County Superior Court,
              14                                           )   Case No. 21CMCV00146)
                             Plaintiff,                    )
              15       v.                                  )   DEFENDANTS’ REPLY TO
                                                           )   PLAINTIFF’S STATEMENT OF
              16      ASRC INDUSTRIAL SERVICES,            )   GENUINE ISSUES IN SUPPORT OF
                      LLC, an unknown business entity; D2  )   OPPOSITION TO DEFENDANTS’
              17      INDUSTRIAL SERVICES, an unknown )        MOTION FOR SUMMARY
                      business entity; F.D. THOMAS, INC., )    JUDGMENT OR, IN THE
              18      an unknown business entity; and DOES )   ALTERNATIVE, SUMMARY
                      1 through 100, inclusive,            )   ADJUDICATION
              19                                           )
                                   Defendants.             )   District Judge: Hon. Percy Anderson
              20                                           )   Magistrate: Hon. Charles F. Eick
                                                           )
              21                                           )
                                                           )
              22                                           )   Date: December 20, 2021
                                                           )   Time: 1:30 p.m.
              23                                           )   Ctrm: 9A
                                                           )         Judge: Percy Anderson
              24                                           )
                                                           )   Action Filed:     June 10, 2021
              25                                           )   Motion Cutoff:    May 9, 2022
                                                           )   Disc. Cutoff:     May 2, 2022
              26                                           )   Trial Date:       July 12, 2022
              27
              28
                                                                     DEFS’ REPLY TO PLAINTIFF’S OPPO STMNT
CDF LABOR LAW LLP                                                                        OF GENUINE ISSUES

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                    1               Defendants ASRC INDUSTRIAL SERVICES, LLC, D2 (SQUARED)
                    2 INDUSTRIAL SERVICES, LLC (sued as D2 Industrial Services), and F.D.
                    3 THOMAS, INC. provide their Reply to Plaintiff’s Statement of Genuine Issues in
                    4 Support of Opposition to Defendants’ Motion for Summary Judgment or, in the
                    5 Alternative, Summary Adjudication as follows:
                    6                    I. Response to Plaintiff’s Statement of Genuine Issues
                    7     Defendants’ Uncontroverted Facts           Plaintiff’s Response to Cited Fact and
                          and Supporting Evidence (“UMF”)                     Supporting Evidence
                    8    1. Plaintiff was employed by D2             1. Undisputed
                    9       (SQUARED) Industrial Services,
                            LLC (“D2”) as a Scaffolder from
              10
                            August 2020 through October 2020.
              11
                            Declaration of Terra Wells in
              12
                            Support of Defendants’ Motion for
              13            Summary Judgment (“Wells Decl.”)
                            ¶ 4; ECF 1-1, Defendants’ Notice of
              14
                            Removal of Civil Action to Federal
              15            Court Pursuant to 28 U.S.C. §§
                            1331, 1441, and 1446, Ex. A,
              16
                            Complaint at ¶ 22.
              17         2. Plaintiff was never employed by     2. Disputed
                            F.D. Thomas, Inc. (“FDT”) or
              18
                            ASRC Industrial Services, LLC       Defendants’ Evidence:
              19            (“AIS”).                            Wells Decl. ¶ 4.
              20
                              Wells Decl. ¶ 4.                      Evidentiary Objection:
              21                                                    Objection under Fed. R. Evid. 704, 602
              22                                                    and L-R 7-7 and F. R. Civ. P. 56(c)(4) to
                                                                    Wells Decl. ¶ 4 statement that “Plaintiff
              23                                                    was never employed by AIS or FDT.
              24         Defendants’ Response
                         2. Plaintiff does not dispute this uncontroverted fact but merely challenges the
              25         sufficiency of the evidence set forth by Defendants establishing this fact with
              26         technical objections. The impropriety of Plaintiff’s objections is addressed in
                         Defendants’ concurrently filed Response to Plaintiff’s Objections to Defendants’
              27         Evidence, including but not limited to the fact that Plaintiff asserts these objections
              28         as an opportunity to advance his legal arguments. Plaintiff could have presented
                                                                    2      DEFS’ REPLY TO PLAINTIFF’S OPPO STMNT
CDF LABOR LAW LLP                                                                              OF GENUINE ISSUES

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                    1      Defendants’ Uncontroverted Facts           Plaintiff’s Response to Cited Fact and
                          and Supporting Evidence (“UMF”)                      Supporting Evidence
                    2    evidence within his personal knowledge disputing this fact, yet he failed to present
                    3    a single fact in opposition. Plaintiff has raised no genuine triable issue of material
                         fact.
                    4
                    5    3. On or about July 1, 2016, United        3. Undisputed
                            General Contractors, Inc. and the
                    6
                            Southwest Regional Council of
                    7       Carpenters and Local Unions in the
                            Twelve Southern California
                    8
                            Counties and Nevada Affiliated
                    9       with the United Brotherhood of
                            Carpenters and Joiners of America
              10
                            (“Union”) entered into a collective
              11            bargaining agreement (“CBA”).
              12
                            Wells Decl. ¶ 5, Ex. A; Declaration
              13            of Stephen Araiza (“Araiza Decl.”)
                            ¶ 4, Ex. A.
              14
                         4. The CBA is effective from July 1,       4. Disputed
              15            2016 to June 30, 2022.
              16                                                   Defendants’ Evidence:
                              Wells Decl. ¶ 6, Ex. A at 47; Araiza Wells Decl. ¶ 6, Ex. A at 47; Araiza
              17              Dec. ¶ 4, Ex. A at 46.               Dec. ¶ 4, Ex. A at 46.
              18
                                                                    Evidentiary Objection:
              19                                                    Objection under Fed. R. Evid. 1004, 704,
              20                                                    602, 901, L-R 7-7, and F. R. Civ. P.
                                                                    56(c)(4) to Wells Decl. ¶ 6 that “[t]he
              21                                                    CBA is effective from July 1, 2016 to
              22                                                    June 30, 2022.”

              23                                                    Objection under Fed. R. Evid. 1004, 704,
              24                                                    602, L-R 7-7, and F. R. Civ. P. to Araiza
                                                                    Decl. ¶ 4 regarding effective dates and
              25                                                    what the CBA “governs” or
              26                                                    “incorporates.”
                         Defendants’ Response
              27         4. Plaintiff does not dispute this uncontroverted fact but merely challenges the
              28         sufficiency of the evidence set forth by Defendants establishing this fact with
                                                                   3       DEFS’ REPLY TO PLAINTIFF’S OPPO STMNT
CDF LABOR LAW LLP                                                                              OF GENUINE ISSUES

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                    1      Defendants’ Uncontroverted Facts         Plaintiff’s Response to Cited Fact and
                          and Supporting Evidence (“UMF”)                     Supporting Evidence
                    2    technical objections. The impropriety of Plaintiff’s objections is addressed in
                    3    Defendants’ concurrently filed Response to Plaintiff’s Objections to Defendants’
                         Evidence, including but not limited to the fact that Plaintiff asserts these objections
                    4
                         as an opportunity to advance his legal arguments regarding the interpretation of the
                    5    CBA and its various amendments and modifications. Plaintiff has raised no
                         genuine triable issue of material fact.
                    6
                    7    5. The CBA governs all work                5. Disputed
                            performed pursuant to the CBA.
                    8
                                                                    Defendants’ Evidence:
                    9         Araiza Decl. ¶¶ 4, 8.                 Araiza Decl. ¶¶ 4, 8.
              10
                                                                    Evidentiary Objection:
              11                                                    Objection under Fed. R. Evid. 1004, 704,
                                                                    602, L-R 7-7, and F. R. Civ. P. 56(c)(4)to
              12
                                                                    Araiza Decl. ¶ 4 regarding what that the
              13                                                    CBA “governed” by and “incorporated”
                                                                    into the CBA.
              14
              15                                                    Objection under Fed. R. Evid. 1004, 704,
              16                                                    602, L-R 7-7, and F. R. Civ. P. 56(c)(4)to
                                                                    Araiza Decl. ¶ 8 regarding what that the
              17                                                    SWRCC “considers” the CBA to mean or
              18                                                    what is “incorporated” into the CBA.
                         Defendants’ Response
              19         5. Plaintiff does not dispute this uncontroverted fact but merely challenges the
              20         sufficiency of the evidence set forth by Defendants establishing this fact with
                         technical objections. The impropriety of Plaintiff’s objections is addressed in
              21         Defendants’ concurrently filed Response to Plaintiff’s Objections to Defendants’
              22         Evidence, including but not limited to the fact that Plaintiff asserts these objections
                         as an opportunity to advance his legal arguments regarding the interpretation of the
              23         CBA and its various amendments and modifications. Plaintiff has raised no
              24         genuine triable issue of material fact.

              25         6. At the time D2 employed Plaintiff,      6. Undisputed
              26            he was a member of the Union.
              27              Wells Decl. ¶ 12, 13, Exs. C, D;
              28              Araiza Decl. ¶ 5.
                                                                    4      DEFS’ REPLY TO PLAINTIFF’S OPPO STMNT
CDF LABOR LAW LLP                                                                              OF GENUINE ISSUES

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                    1     Defendants’ Uncontroverted Facts           Plaintiff’s Response to Cited Fact and
                          and Supporting Evidence (“UMF”)                     Supporting Evidence
                    2    7. Plaintiff was dispatched by the         7. Undisputed
                    3       Union to perform work for D2 on
                            various projects between August
                    4
                            2020 and October 2020.
                    5
                            Araiza Decl. ¶ 5; Wells Decl. ¶ 13,
                    6
                            Ex. D.
                    7    8. At all times that D2 employed           8. Disputed
                            Plaintiff, Plaintiff only performed
                    8
                            work in the Southern California         Defendants’ Evidence:
                    9       counties listed in the CBA.             Wells Decl. ¶ 9.
              10
                              Wells Decl. ¶ 9.                      Evidentiary Objection:
              11                                                    Objection under Fed. R. Evid. 1004, 704,
                                                                    602, L-R 7-7, and F. R. Civ. P. 56(c)(4)
              12
                                                                    to Wells Decl. ¶ 9.
              13
              14
                         Defendants’ Response
              15         8. Plaintiff does not dispute this uncontroverted fact but merely challenges the
              16         sufficiency of the evidence set forth by Defendants establishing this fact with
                         technical objections. The impropriety of Plaintiff’s objections is addressed in
              17         Defendants’ concurrently filed Response to Plaintiff’s Objections to Defendants’
              18         Evidence, including but not limited to the fact that Plaintiff asserts these objections
                         as an opportunity to advance his legal arguments. Plaintiff could have presented
              19         evidence within his personal knowledge disputing this fact, yet he failed to present
              20         a single fact in opposition. Plaintiff has raised no genuine triable issue of material
                         fact.
              21
              22         9. For the duration of his employment 9. Disputed
                            with D2, the terms and conditions of
              23            Plaintiff’s employment were          Defendants’ Evidence:
              24            governed by the CBA.                 Wells Decl. ¶ 8.

              25              Wells Decl. ¶ 8.                      Evidentiary Objection:
              26                                                    Objection under Fed. R. Evid. 1004, 704,
                                                                    602, L-R 7-7, and F. R. Civ. P. 56(c)(4)
              27                                                    to Wells Decl. ¶ 8.
              28         Defendants’ Response
                                                                    5      DEFS’ REPLY TO PLAINTIFF’S OPPO STMNT
CDF LABOR LAW LLP                                                                              OF GENUINE ISSUES

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                    1      Defendants’ Uncontroverted Facts           Plaintiff’s Response to Cited Fact and
                          and Supporting Evidence (“UMF”)                      Supporting Evidence
                    2    9. Plaintiff does not dispute this uncontroverted fact but merely challenges the
                    3    sufficiency of the evidence set forth by Defendants establishing this fact with
                         technical objections. The impropriety of Plaintiff’s objections is addressed in
                    4
                         Defendants’ concurrently filed Response to Plaintiff’s Objections to Defendants’
                    5    Evidence, including but not limited to the fact that Plaintiff asserts these objections
                         as an opportunity to advance his legal arguments. Plaintiff could have presented
                    6
                         evidence within his personal knowledge disputing this fact, yet he failed to present
                    7    a single fact in opposition. Plaintiff has raised no genuine triable issue of material
                         fact.
                    8
                    9    10. Under the CBA, “[t]he Contractors 10. Undisputed
                            are engaged in construction work in
              10
                            Southern California and, in the
              11            performance of their present and
                            future operations, are employing
              12
                            and will employ workmen under the
              13            terms of this [CBA].”
              14
                            Wells Decl. ¶ 5, Ex. A at 11; Araiza
              15            Dec. ¶ 4, Ex. A at 10.
              16         11. The Union itself is comprised of     11. Undisputed
                            workers covering a large scope of
              17            construction services, including
              18            carpenters, cabinet installers, floor
                            workers, scaffold builders,
              19            insulation installers, pile drivers,
              20            and more.

              21            Wells Decl. ¶ 5, Ex. A at 57-58;
              22            Araiza Dec. ¶ 4, Ex. A at 56-57.
                         12. D2 provides industrial insulation,     12. Undisputed
              23            scaffolding, and other specialized
              24            services in the construction
                            industry.
              25
              26            Wells Decl. ¶ 11.
                         13. A Memorandum of Understanding 13. Undisputed
              27            containing a PAGA waiver pursuant
              28            to California Labor Code Section
                                                                    6      DEFS’ REPLY TO PLAINTIFF’S OPPO STMNT
CDF LABOR LAW LLP                                                                              OF GENUINE ISSUES

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                    1      Defendants’ Uncontroverted Facts             Plaintiff’s Response to Cited Fact and
                           and Supporting Evidence (“UMF”)                       Supporting Evidence
                    2        2699.6, was executed on January 4,
                    3        2019 by the Union and United
                             General Contractors, Inc.
                    4
                    5       Araiza Decl. ¶ 4, Ex. A at 189-90.
                         14. The Recitals in the CBA state,         14. Disputed
                    6
                            “WHEREAS, Governor Jerry
                    7       Brown signed Assembly Bill 1654         Defendants’ Evidence:
                            (“AB 1654ˮ) on September                Wells Decl. ¶ 5, Ex. A at 153, Appendix
                    8
                            19,2018, [sic] which added Section      O; Araiza Decl. ¶ 4, Ex. A at 152,
                    9       2699.6 to the Labor Code;               Appendix O.
                            WHEREAS, AB 1654 exempts
              10
                            from the coverage of the Private        Evidentiary Objection:
              11            Attorney Generals Act (Part 13 of       Objection under Fed. R. Evid. 1004, 704,
                            Division 2 of the Labor Code            602, 403, 901 L-R 7-7, and F. R. Civ. P.
              12
                            (commencing with Section 2698))         56(c)(4) to Wells Decl. ¶ 5 that the
              13            (“PAGAˮ) any ‘employee in the           referenced “Exhibit A” is a “true and
                            construction industry,’ as that term    correct copy” of the CBA “entered into”
              14
                            is defined by Labor Code                on “July 1, 2016.”
              15            §2699.6(d), with respect to work
              16            performed under a valid collective      Objection under Fed. R. Evid. 1004 and
                            bargaining agreement that meets the     704, 602, L-R 7-7, and F. R. Civ. P.
              17            requirements of AB 1654, in             56(c)(4) to Araiza Decl. ¶ 4 that “all
              18            particular, Labor Code §2699.6(a)       amendments, MOUs, wage increase
                            (“Exemptionˮ);                          sheets, and other modifications,” have
              19            WHEREAS, the application of that        been “negotiated and incorporated into
              20            Exemption requires satisfaction of      the CBA”
                            certain conditions set forth in Labor
              21            Code §2699.6(a)(1)-(3), which
              22            mandates that a collective
                            bargaining agreement such as this
              23            Agreement contain wages, hours of
              24            work, and working conditions of
                            employees, premium wage rates for
              25            all overtime hours worked, and for
              26            the employee to receive a regular
                            hourly pay rate of not less than 30
              27            percent more than the state
              28            minimum wage rate and the
                                                                    7        DEFS’ REPLY TO PLAINTIFF’S OPPO STMNT
CDF LABOR LAW LLP                                                                                OF GENUINE ISSUES

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                    1      Defendants’ Uncontroverted Facts               Plaintiff’s Response to Cited Fact and
                           and Supporting Evidence (“UMF”)                         Supporting Evidence
                    2        following provisions:
                    3        (1) Prohibits all of the violations of
                             the Labor Code that would be
                    4
                             redressable pursuant to PAGA, and
                    5        provides for a grievance and
                             binding arbitration procedure to
                    6
                             redress those violations.
                    7        (2) Expressly waives the
                             requirements of PAGA in clear and
                    8
                             unambiguous terms.
                    9        (3) Authorizes the arbitrator to
                             award any and all remedies
              10
                             otherwise available under the Labor
              11             Code, provided that nothing in this
                             section authorizes the award of
              12
                             penalties under this part that would
              13             be payable to the Labor and
                             Workforce Development Agency.
              14
                             WHEREAS, Article VI of this
              15             Agreement contains provisions
                             authorizing the filing of a grievance
              16
                             which can be pursued to final and
              17             binding arbitration (“Grievance /
              18             Arbitration Machineryˮ);
                             WHERAS, [sic] the Parties wish to
              19             avail themselves of this Exemption
              20             by agreeing to the terms of this
                             MOU;
              21             WHEREAS, all Recitals shall be
              22             deemed Resolutions and all
                             Resolutions shall be deemed
              23             Recitals.”
              24
                            Wells Decl. ¶ 5, Ex. A at 153,
              25            Appendix O; Araiza Decl. ¶ 4, Ex.
              26            A at 152, Appendix O.
                         Defendants’ Response
              27         14. Plaintiff does not dispute this uncontroverted fact but merely challenges the
              28         sufficiency of the evidence set forth by Defendants establishing this fact with
                                                                      8        DEFS’ REPLY TO PLAINTIFF’S OPPO STMNT
CDF LABOR LAW LLP                                                                                  OF GENUINE ISSUES

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                    1      Defendants’ Uncontroverted Facts         Plaintiff’s Response to Cited Fact and
                          and Supporting Evidence (“UMF”)                     Supporting Evidence
                    2    technical objections. The impropriety of Plaintiff’s objections is addressed in
                    3    Defendants’ concurrently filed Response to Plaintiff’s Objections to Defendants’
                         Evidence, including but not limited to the fact that Plaintiff asserts these objections
                    4
                         as an opportunity to advance his legal arguments regarding the interpretation of the
                    5    CBA and its various amendments and modifications. Plaintiff has raised no
                         genuine triable issue of material fact.
                    6
                    7    15. The Resolutions in the CBA state,      15. Disputed
                            “WHEREFORE, the parties clearly
                    8
                            and unambiguously waive the             Defendants’ Evidence:
                    9       provisions of PAGA, and agree that      Wells Decl. ¶ 5, Ex. A at 153-54,
                            none of the provisions of PAGA          Appendix O; Araiza Decl. ¶ 4, Ex. A at
              10
                            shall apply to any of the employees     152-53, Appendix O.
              11            covered by this Agreement;
                            WHEREFORE, the parties agree            Evidentiary Objection:
              12
                            that the Union may file a grievance     Objection under Fed. R. Evid. 1004, 704,
              13            pursuant to this Agreement’s            602, 403, 901 L-R 7-7, and F. R.
                            Grievance / Arbitration Machinery       Civ. P. 56(c)(4) to Wells Decl. ¶ 5 that
              14
                            and such a grievance can assert         the referenced “Exhibit A” is a “true
              15            violations of the Labor Code that       and correct copy” of the CBA “entered
              16            are redressable by PAGA, which          into” on “July 1, 2016.”
                            include those sections enumerated
              17            in Labor Code §§ 2699.5 and             Objection under Fed. R. Evid. 1004
              18            2699(f) and any others to ensure        and 704, 602, L-R 7-7, and F. R. Civ.
                            application of the Exemption;           P. 56(c)(4) to Araiza Decl. ¶ 4 that “all
              19            WHEREFORE, an arbitrator                amendments, MOUs, wage increase
              20            presiding over an arbitration           sheets, and other modifications,” have
                            conducted pursuant to the               been “negotiated and incorporated into
              21            Grievance / Arbitration Machinery       the CBA”
              22            shall have the authority to make an
                            award of any all [sic] remedies
              23            otherwise available under the Labor
              24            Code except for an award of
                            penalties that would be payable to
              25            the Labor and Workforce
              26            Development Agency, and that any
                            Labor Code violations asserted by
              27            the Union that are redressable by
              28            PAGA will be deemed violations of
                                                                    9      DEFS’ REPLY TO PLAINTIFF’S OPPO STMNT
CDF LABOR LAW LLP                                                                              OF GENUINE ISSUES

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                    1      Defendants’ Uncontroverted Facts          Plaintiff’s Response to Cited Fact and
                           and Supporting Evidence (“UMF”)                    Supporting Evidence
                    2        this Agreement if so found by the
                    3        arbitrator;
                             WHEREFORE, the parties agree
                    4
                             that the terms of this MOU meet all
                    5        conditions for application of the
                             Exemption in AB 1654.”
                    6
                    7       Wells Decl. ¶ 5, Ex. A at 153-54,
                            Appendix O; Araiza Decl. ¶ 4, Ex.
                    8
                            A at 152-53, Appendix O.
                    9    Defendants’ Response
                         15. Plaintiff does not dispute this uncontroverted fact but merely challenges the
              10
                         sufficiency of the evidence set forth by Defendants establishing this fact with
              11         technical objections. The impropriety of Plaintiff’s objections is addressed in
              12         Defendants’ concurrently filed Response to Plaintiff’s Objections to Defendants’
                         Evidence, including but not limited to the fact that Plaintiff asserts these objections
              13         as an opportunity to advance his legal arguments regarding the interpretation of the
              14         CBA and its various amendments and modifications. Plaintiff has raised no
                         genuine triable issue of material fact.
              15
              16         16. The CBA states, “The Union and         16. Undisputed
                            the Contractors, by this Agreement,
              17            intend to establish uniform rates of
              18            pay, hours of employment and
                            working conditions for the
              19            employees covered by this
              20            Agreement.”

              21            Wells Decl. ¶ 5, Ex. A 11; Araiza
              22            Decl. ¶ 4, Ex. A at 10.
                         17. The CBA provides detailed wage     17. Undisputed
              23            schedules for all employees covered
              24            by the CBA.

              25            Wells Decl. ¶ 5, Ex. A at 57-66, Art.
              26            XVIII; Araiza Decl. ¶ 4, Ex. A at
                            56-65, Art. XVIII.
              27         18. The CBA sets forth the wage rates 18. Undisputed
              28            applicable to work performed under
                                                                   10      DEFS’ REPLY TO PLAINTIFF’S OPPO STMNT
CDF LABOR LAW LLP                                                                              OF GENUINE ISSUES

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                    1      Defendants’ Uncontroverted Facts         Plaintiff’s Response to Cited Fact and
                           and Supporting Evidence (“UMF”)                   Supporting Evidence
                    2        the CBA.
                    3
                            Wells Decl. ¶ 5, Ex. A at 57-66, Art.
                    4
                            XVIII; Araiza Decl. ¶ 4, Ex. A at
                    5       56-65, Art. XVIII.
                         19. In 2020, the California minimum      19. Undisputed
                    6
                            wage rate for employers with more
                    7       than 25 employees was $13.00 per
                            hour.
                    8
                    9       Request for Judicial Notice,
                            Declaration of Kent J. Sprinkle in
              10
                            Support of Defendants’ Motion for
              11            Summary Judgment (“Sprinkle
                            Decl.”) ¶ 4 (citing Cal. Lab. Code §
              12
                            1182.12(b)(1)(D)), Ex. 1.
              13         20. In 2016, the California minimum       20. Undisputed
              14            wage rate for all employers was
                            $10.00 per hour.
              15
              16            Request for Judicial Notice,
                            Sprinkle Decl. ¶ 5 (citing Cal. Lab.
              17            Code § 1182.12(b)), Ex. 1.
              18         21. The lowest hourly wage rate           21. Undisputed
                            authorized by the CBA in 2016 was
              19            $14.14 an hour.
              20
                            Wells Decl. ¶ 5, Ex. A at 58, Art.
              21            XVIII; Araiza Decl. ¶ 4, Ex. A at
              22            57, Art. XVIII.
                         22. According to the wage scales in the 22. Undisputed
              23            CBA, the Union was entitled to
              24            allocate an increase of
                            approximately $2.00 per hour each
              25            year across wages and/or benefits.
              26
                              Wells Decl. ¶ 5, Ex. A at 58, Art.
              27              XVIII; Araiza Decl. ¶ 4, Ex. A at
              28              57, Art. XVIII.
                                                                   11    DEFS’ REPLY TO PLAINTIFF’S OPPO STMNT
CDF LABOR LAW LLP                                                                            OF GENUINE ISSUES

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                    1     Defendants’ Uncontroverted Facts           Plaintiff’s Response to Cited Fact and
                          and Supporting Evidence (“UMF”)                     Supporting Evidence
                    2    23. D2 received a letter from the          23. Undisputed
                    3       Union, dated June 8, 2020,
                            addressed to “All Contractors
                    4
                            Signed to the Southern California
                    5       Scaffold Agreement,” attaching
                            wage sheets reflecting the increase
                    6
                            in wages, health and welfare, and
                    7       other benefits in accordance with
                            the CBA, effective July 1, 2020.
                    8
                    9       Wells Decl. ¶ 14, Ex. E.
                         24. Plaintiff was initially assigned the 24. Undisputed
              10
                            hourly wage rate of $24.33 in
              11            accordance with the 7th period of the
                            Scaffold Industrial Maintenance
              12
                            Wage Journey & Apprentice Rates.
              13
                             Wells Decl. ¶¶ 13, 14, Ex. D at 184,
              14
                             Ex. E at 188.
              15         25. At all times that D2 employed           25. Disputed
              16             Plaintiff, Plaintiff was paid wages in
                             accordance with the wage rates set      Defendants’ Evidence:
              17             in the wage sheets provided by the      Wells Decl. ¶ 14.
              18             Union.
                                                                     Evidentiary Objection:
              19             Wells Decl. ¶ 14.                       Objection under Fed. R. Evid. 1004, 602,
              20                                                     L-R 7-7, and F. R. Civ. P. 56(c)(4) to
                                                                     Wells Decl. ¶ 14
              21         Defendants’ Response
              22         25. Plaintiff does not dispute this uncontroverted fact but merely challenges the
                         sufficiency of the evidence set forth by Defendants establishing this fact with
              23         technical objections. The impropriety of Plaintiff’s objections is addressed in
              24         Defendants’ concurrently filed Response to Plaintiff’s Objections to Defendants’
                         Evidence, including but not limited to the fact that Plaintiff asserts these objections
              25         as an opportunity to advance his legal arguments. Plaintiff could have presented
              26         evidence within his personal knowledge disputing this fact, yet he failed to present
                         a single fact in opposition. Plaintiff has raised no genuine triable issue of material
              27         fact.
              28
                                                                   12      DEFS’ REPLY TO PLAINTIFF’S OPPO STMNT
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                    1     Defendants’ Uncontroverted Facts            Plaintiff’s Response to Cited Fact and
                          and Supporting Evidence (“UMF”)                      Supporting Evidence
                    2    26. At all times that D2 employed           26. Disputed
                    3       Plaintiff, Plaintiff was paid an
                            hourly wage rate of at least $24.33.     Defendants’ Evidence:
                    4
                                                                     Wells Decl. ¶ 14.
                    5         Wells Decl. ¶ 14.
                                                                     Evidentiary Objection:
                    6
                                                                     Objection under Fed. R. Evid. 1004, 602,
                    7                                                L-R 7-7, and F. R. Civ. P. 56(c)(4) to
                                                                     Wells Decl. ¶ 14
                    8
                         Defendants’ Response
                    9    26. Plaintiff does not dispute this uncontroverted fact but merely challenges the
                         sufficiency of the evidence set forth by Defendants establishing this fact with
              10
                         technical objections. The impropriety of Plaintiff’s objections is addressed in
              11         Defendants’ concurrently filed Response to Plaintiff’s Objections to Defendants’
              12         Evidence, including but not limited to the fact that Plaintiff asserts these objections
                         as an opportunity to advance his legal arguments. Plaintiff could have presented
              13         evidence within his personal knowledge disputing this fact, yet he failed to present
              14         a single fact in opposition. Plaintiff has raised no genuine triable issue of material
                         fact.
              15
              16         27. The CBA provides for the start and      27. Undisputed
                            stop times for single shifts, multiple
              17            shifts, and special shifts, and when
              18            overtime rates must be paid for
                            certain hours worked.
              19
              20            Wells Decl. ¶ 5, Ex. A at 48-55, Art.
                            XVI; Araiza Decl. ¶ 4, Ex. A at 47-
              21            54, Art. XVI.
              22         28. The CBA covers the employees’        28. Undisputed
                            working conditions including
              23            safety, parking, drinking water, and
              24            jobsite transportation.

              25            Wells Decl. ¶ 5, Ex. A at 42-43, Art.
              26            X; Araiza Decl. ¶ 4, Ex. A at 41-42,
                            Art. X.
              27         29. The CBA states, “All overtime        29. Undisputed
              28            Monday through Friday shall be at
                                                                     13    DEFS’ REPLY TO PLAINTIFF’S OPPO STMNT
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                    1      Defendants’ Uncontroverted Facts            Plaintiff’s Response to Cited Fact and
                           and Supporting Evidence (“UMF”)                      Supporting Evidence
                    2        the rate of one and one-half (1½)
                    3        the regular straight time hourly rate
                             for the first four hours of overtime
                    4
                             worked and shall be paid at double
                    5        the straight time hourly rate after
                             twelve hours of work. Saturday,
                    6
                             unless it is a makeup day, shall be at
                    7        the rate of one and one-half (1½)
                             times the straight time rate for the
                    8
                             first eight (8) hours of work and
                    9        double (2) the straight time hourly
                             rate after eight hours of work. All
              10
                             hours worked on Sundays and
              11             Holidays shall be paid at double the
                             straight time hourly rate.”
              12
              13              Wells Decl. ¶ 5, Ex. A at 65, Art.
                              XVIII; Araiza Decl. ¶ 4, Ex. A at
              14
                              64, Art. XVIII.
              15
              16         30. The CBA states, “all employee            30. Disputed
                            disputes concerning violations of, or
              17            arising under Wage Order 16               Defendants’ Evidence:
              18            (except as noted in the immediately       Wells Decl. ¶ 5, Ex. A at 151,
                            preceding paragraph), the California      Appendix M; Araiza Decl. ¶ 4, Ex. A at
              19            Labor Code Sections identified in         150, Appendix M.
              20            California Labor Code section
                            2699.5 as amended, the California         Evidentiary Objection:
              21            Private Attorneys General Act             Objection under Fed. R. Evid. 1004,
              22            (Labor Code section 2698, et seq.),       704, 602, 403, 901 L-R 7-7, and F. R.
                            and federal, state and local law          Civ. P. 56(c)(4) to Wells Decl. ¶ 5 that
              23            concerning wage-hour                      the referenced “Exhibit A” is a “true
              24            requirements, wage payment and            and correct copy” of the CBA “entered
                            meal or rest periods, including           into” on “July 1, 2016.”
              25            claims arising under the Fair Labor
              26            Standards Act (hereinafter                Objection under Fed. R. Evid. 1004
                            ‘Statutory Dispute’ or ‘Statutory         and 704, 602 and L-R 7-7 to Araiza Decl.
              27            Disputes’) shall be subject to and        ¶ 4 stating “all amendments, MOUs,
              28            must be processed by the employee         wage increase sheets, and other
                                                                      14    DEFS’ REPLY TO PLAINTIFF’S OPPO STMNT
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                    1      Defendants’ Uncontroverted Facts          Plaintiff’s Response to Cited Fact and
                           and Supporting Evidence (“UMF”)                    Supporting Evidence
                    2        pursuant to the procedures set forth   modifications,” have been “negotiated
                    3        in this Appendix M as the sole and     and incorporated into the CBA.”
                             exclusive remedy.”
                    4
                    5       Wells Decl. ¶ 5, Ex. A at 151,
                            Appendix M; Araiza Decl. ¶ 4, Ex.
                    6
                            A at 150, Appendix M.
                    7    Defendants’ Response
                         30. Plaintiff does not dispute this uncontroverted fact but merely challenges the
                    8
                         sufficiency of the evidence set forth by Defendants establishing this fact with
                    9    technical objections. The impropriety of Plaintiff’s objections is addressed in
                         Defendants’ concurrently filed Response to Plaintiff’s Objections to Defendants’
              10
                         Evidence, including but not limited to the fact that Plaintiff asserts these objections
              11         as an opportunity to advance his legal arguments regarding the interpretation of the
              12         CBA and its various amendments and modifications. Plaintiff has raised no
                         genuine triable issue of material fact.
              13
              14         31. The CBA states, “The Arbitrator        31. Disputed
                            shall have full authority to fashion
              15            such remedies and award relief          Defendants’ Evidence:
              16            consistent with limitations under       Wells Decl. ¶ 5, Ex. A at 151-52,
                            federal and state law, and precedent    Appendix M; Araiza Decl. ¶ 4, Ex. A at
              17            established thereunder, whether by      150-51, Appendix M.
              18            way of damages or the award of
                            attorneys’ fees and other costs,        Evidentiary Objection:
              19            orders to cease and desist, or any      Objection under Fed. R. Evid. 1004, 704,
              20            and all other reasonable remedies       602, 403, 901 L-R 7-7, and F. R.
                            designed to correct any violation       Civ. P. 56(c)(4) to Wells Decl. ¶ 5 that
              21            which the Arbitrator may have           the referenced “Exhibit A” is a “true
              22            found to have existed, including        and correct copy” of the CBA “entered
                            such remedies as provided under         into” on “July 1, 2016.”
              23            applicable state or federal law or
              24            regulation. The decision of the         Objection under Fed. R. Evid. 1004
                            Arbitrator is final and binding upon    and 704, 602 and L-R 7-7 to Araiza
              25            the parties and is enforceable in a     Decl. ¶ 4 stating “all amendments,
              26            court of competent jurisdiction.”       MOUs, wage increase sheets, and other
                                                                    modifications,” have been “negotiated
              27              Wells Decl. ¶ 5, Ex. A at 151-52,     and incorporated into the CBA.”
              28              Appendix M; Araiza Decl. ¶ 4, Ex.
                                                                    15     DEFS’ REPLY TO PLAINTIFF’S OPPO STMNT
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                    1      Defendants’ Uncontroverted Facts          Plaintiff’s Response to Cited Fact and
                          and Supporting Evidence (“UMF”)                     Supporting Evidence
                    2       A at 150-51, Appendix M.
                    3    Defendants’ Response
                         31. Plaintiff does not dispute this uncontroverted fact but merely challenges the
                    4
                         sufficiency of the evidence set forth by Defendants establishing this fact with
                    5    technical objections. The impropriety of Plaintiff’s objections is addressed in
                         Defendants’ concurrently filed Response to Plaintiff’s Objections to Defendants’
                    6
                         Evidence, including but not limited to the fact that Plaintiff asserts these objections
                    7    as an opportunity to advance his legal arguments regarding the interpretation of the
                         CBA and its various amendments and modifications. Plaintiff has raised no
                    8
                         genuine triable issue of material fact.
                    9
              10         32. The United Brotherhood of            32. Undisputed
                            Carpenters and Joiners of America
              11            (“UBC”) is one of North America’s
              12            largest building trade unions, with
                            over a half-million members. There
              13            are 26 regional and district councils
              14            geographically aligned with today’s
                            construction markets, and 19 of
              15            these are located in the United
              16            States. Each region oversees
                            numerous individual local unions.
              17
              18              Declaration of Anthony Graziano
                              (“Graziano Decl.”) ¶ 1.
              19
              20
              21
              22
              23
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                                                                   16      DEFS’ REPLY TO PLAINTIFF’S OPPO STMNT
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                    1     Defendants’ Uncontroverted Facts           Plaintiff’s Response to Cited Fact and
                          and Supporting Evidence (“UMF”)                     Supporting Evidence
                    2    33. The UBC entered into an                33. Disputed
                    3       agreement with D2 (Squared)
                            Industrial Services, LLC (“D2”),        Defendants’ Evidence:
                    4
                            effective October 19, 2017, in          Wells Decl. ¶ 10, Ex. B at 177; Graziano
                    5       which D2 agreed, among other            Decl. ¶ 4, Ex. 1 at 7.
                            things, “to recognize the
                    6
                            jurisdictional claims of the            Evidentiary Objection:
                    7       International Union and to comply       Objection under Fed. R. Evid. 1004,
                            with the contractual wages, fringe      704, 602, L-R 7-7, and F. R. Civ. P.
                    8
                            benefits, hours and other working       56(c)(4) to Wells Decl. ¶ 10 that “the
                    9       conditions established between the      CBA governed Plaintiff’s employment
                            Union affiliates and the employers      with D2”
              10
                            and employer agencies in the
              11            localities in which the Employer        Objection under Fed. R. Evid. 1004, 704,
                            [D2] does any work within the           602, L-R 7-7, and F. R. Civ. P.
              12
                            jurisdiction of the International       56(c)(4) to Graziano Decl. ¶ 4.
              13            Union.” (“International
                            Agreement”).
              14
              15            Wells Decl. ¶ 10, Ex. B at 177;
                            Graziano Decl. ¶ 4, Ex. 1 at 7.
              16
                         Defendants’ Response
              17         33. Plaintiff does not dispute this uncontroverted fact but merely challenges the
              18         sufficiency of the evidence set forth by Defendants establishing this fact with
                         technical objections. The impropriety of Plaintiff’s objections is addressed in
              19         Defendants’ concurrently filed Response to Plaintiff’s Objections to Defendants’
              20         Evidence, including but not limited to the fact that Plaintiff asserts these objections
                         as an opportunity to advance his legal arguments regarding the International
              21         Agreement and its effect on the CBA. Plaintiff has raised no genuine triable issue
              22         of material fact.
              23         34. The UBC established a                  34. Disputed
              24            standardized agreement with
                            contractors performing carpentry        Defendants’ Evidence:
              25            work within the jurisdiction of         Araiza Decl. ¶ 6; Wells Decl. ¶ 10, Ex. B
              26            multiple regional councils which        at 177.
                            requires that such contractors,
              27            among other things, “comply with        Evidentiary Objection:
              28            the contractual wages, fringe           Objection under Fed. R. Evid. 1004, 704,
                                                                   17      DEFS’ REPLY TO PLAINTIFF’S OPPO STMNT
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                    1      Defendants’ Uncontroverted Facts          Plaintiff’s Response to Cited Fact and
                           and Supporting Evidence (“UMF”)                    Supporting Evidence
                    2        benefits, hours and other working      602, L-R 7-7, and F. R. Civ. P 56(c)(4) to
                    3        conditions established between the     Araiza Decl. ¶ 6 about what any an
                             Union affiliates and the employers     agreement “requires” of any party.
                    4
                             and employer agencies in the
                    5        localities in which the Employer       Objection under Fed. R. Evid. 1004, 704,
                             does any work within the               602, L-R 7-7, and F. R. Civ. P. 56(c)(4)
                    6
                             jurisdiction of the International      to Wells Decl. ¶ 10 that “the CBA
                    7        Union.” The International              governed Plaintiff’s employment with
                             Agreement contains this same           D2”
                    8
                             language.
                    9
                            Araiza Decl. ¶ 6; Wells Decl. ¶ 10,
              10
                            Ex. B at 177.
              11         Defendants’ Response
              12         34. Plaintiff does not dispute this uncontroverted fact but merely challenges the
                         sufficiency of the evidence set forth by Defendants establishing this fact with
              13         technical objections. The impropriety of Plaintiff’s objections is addressed in
              14         Defendants’ concurrently filed Response to Plaintiff’s Objections to Defendants’
                         Evidence, including but not limited to the fact that Plaintiff asserts these objections
              15         as an opportunity to advance his legal arguments regarding the International
              16         Agreement and its effect on the CBA. Plaintiff has raised no genuine triable issue
                         of material fact.
              17
              18         35. Under the International Agreement,     35. Disputed
                            D2 is bound by and must therefore
              19            comply with all of the terms and        Defendants’ Evidence:
              20            conditions of the regional collective   Graziano Decl. ¶¶ 4, 5, Ex. 1; Araiza
                            bargaining agreements negotiated        Decl. ¶ 7.
              21            by the UBC’s affiliates, including
              22            but not limited to any and all          Evidentiary Objection:
                            amendments and MOUs to the              Objection under Fed. R. Evid. 1004,
              23            collective bargaining agreements        704, 602, L-R 7-7, and F. R. Civ. P.
              24            negotiated by the regional affiliate.   56(c)(4) to Graziano Decl. ¶ 4 about
                                                                    whether or when D2 “agreed” to
              25              Graziano Decl. ¶¶ 4, 5, Ex. 1;        “recognize” or “comply” with
              26              Araiza Decl. ¶ 7.                     anything.

              27                                                    Objection under Fed. R. Evid. 1004, 704,
              28                                                    602, L-R 7-7, and F. R. Civ. P.
                                                                    18     DEFS’ REPLY TO PLAINTIFF’S OPPO STMNT
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                    1      Defendants’ Uncontroverted Facts          Plaintiff’s Response to Cited Fact and
                           and Supporting Evidence (“UMF”)                    Supporting Evidence
                    2                                               56(c)(4) to Graziano Decl. ¶ 5 about what
                    3                                               the International Agreement
                                                                    “means” and that “D2 is bound by and
                    4
                                                                    must therefore comply with” the CBA,
                    5                                               including any amendments.
                    6
                                                                    Objection under Fed. R. Evid. 1004, 704,
                    7                                               602, L-R 7-7, and F. R. Civ. P.
                                                                    56(c)(4) to Araiza Decl. ¶ 7 that that
                    8
                                                                    D2 is “bound by” the CBA, including
                    9                                               amendments, that have been
                                                                    “incorporated” therein.
              10
                         Defendants’ Response
              11         35. Plaintiff does not dispute this uncontroverted fact but merely challenges the
              12         sufficiency of the evidence set forth by Defendants establishing this fact with
                         technical objections. The impropriety of Plaintiff’s objections is addressed in
              13         Defendants’ concurrently filed Response to Plaintiff’s Objections to Defendants’
              14         Evidence, including but not limited to the fact that Plaintiff asserts these objections
                         as an opportunity to advance his legal arguments regarding the International
              15         Agreement and its effect on the CBA. Plaintiff has raised no genuine triable issue
              16         of material fact.

              17         36. D2 is bound by all regional            36. Disputed
              18            collective bargaining agreements for
                            work it performs in each region,        Defendants’ Evidence:
              19            including any and all amendments        Graziano Decl. ¶¶ 4, 5, Ex. 1; Araiza
              20            and MOUs to regional collective         Decl. ¶ 7.
                            bargaining agreements, including
              21            amendments, MOUs, or other              Evidentiary Objection:
              22            modifications executed on or after      Objection under Fed. R. Evid. 1004, 704,
                            the date that the International         602, L-R 7-7, and F. R. Civ. P.
              23            Agreement was signed.                   56(c)(4) to Graziano Decl. ¶ 4 that D2
              24                                                    “entered into an agreement” and that
                              Graziano Decl. ¶¶ 4, 5, Ex. 1;        D2 “is bound to and must therefore
              25              Araiza Decl. ¶ 7.                     comply with” certain terms.
              26
                                                                    Objection under Fed. R. Evid. 1004, 704,
              27                                                    602, L-R 7-7, and F. R. Civ. P.
              28                                                    56(c)(4) to Graziano Decl. ¶ 5 that D2
                                                                   19      DEFS’ REPLY TO PLAINTIFF’S OPPO STMNT
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                    1      Defendants’ Uncontroverted Facts           Plaintiff’s Response to Cited Fact and
                           and Supporting Evidence (“UMF”)                     Supporting Evidence
                    2                                                regarding what the International
                    3                                                Agreement “means” and that D2 “is
                                                                     bound to and must therefore comply
                    4
                                                                     with” certain terms.
                    5
                                                                     Objection under Fed. R. Evid. 1004, 704,
                    6
                                                                     602, L-R 7-7, and F. R. Civ. P.
                    7                                                56(c)(4) to Araiza Decl. ¶ 7 that that
                                                                     D2 is “bound by” the CBA, including
                    8
                                                                     amendments, that have been
                    9                                                “incorporated” therein.
                         Defendants’ Response
              10
                         36. Plaintiff does not dispute this uncontroverted fact but merely challenges the
              11         sufficiency of the evidence set forth by Defendants establishing this fact with
              12         technical objections. The impropriety of Plaintiff’s objections is addressed in
                         Defendants’ concurrently filed Response to Plaintiff’s Objections to Defendants’
              13         Evidence, including but not limited to the fact that Plaintiff asserts these objections
              14         as an opportunity to advance his legal arguments regarding the International
                         Agreement and its effect on the CBA. Plaintiff has raised no genuine triable issue
              15         of material fact.
              16
                         37. The International Agreement’s           37. Disputed
              17            “Duration” provision states that it is
              18            effective “as of the below [October      Defendants’ Evidence:
                            19, 2017] execution date and shall       Graziano Decl. ¶ 5, Ex. 1 at 9; Wells
              19            remain in effect for three (3) years     Decl. ¶ 10, Ex. B at 179.
              20            from that date, and it shall
                            automatically renew itself for           Evidentiary Objection:
              21            subsequent three-year periods            Objection under Fed. R. Evid. 1004, 704,
              22            unless written notice to terminate is    602, L-R 7-7, and F. R. Civ. P. 56(c)(4)
                            given by either party to the             to Graziano Decl. ¶ 5 about what the
              23            other….”                                 International Agreement “means” and
              24                                                     that “D2 is bound by and must therefore
                              Graziano Decl. ¶ 5, Ex. 1 at 9;        comply with” the CBA, including any
              25              Wells Decl. ¶ 10, Ex. B at 179.        amendments.
              26
                                                                     Objection under Fed. R. Evid. 1004, 704,
              27                                                     602, L-R 7-7, and F. R. Civ. P. 56(c)(4)
              28                                                     to Wells Decl. ¶ 10 that the CBA
                                                                     20    DEFS’ REPLY TO PLAINTIFF’S OPPO STMNT
CDF LABOR LAW LLP                                                                              OF GENUINE ISSUES

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                    1      Defendants’ Uncontroverted Facts          Plaintiff’s Response to Cited Fact and
                           and Supporting Evidence (“UMF”)                    Supporting Evidence
                    2                                               “governed Plaintiff’s employment with
                    3                                               D2” or that D2 agreed to comply with the
                                                                    contractual terms” and “other working
                    4
                                                                    conditions.”
                    5
                    6
                    7
                    8
                         Defendants’ Response
                    9
                         37. Plaintiff does not dispute this uncontroverted fact but merely challenges the
              10         sufficiency of the evidence set forth by Defendants establishing this fact with
              11         technical objections. The impropriety of Plaintiff’s objections is addressed in
                         Defendants’ concurrently filed Response to Plaintiff’s Objections to Defendants’
              12         Evidence, including but not limited to the fact that Plaintiff asserts these objections
              13         as an opportunity to advance his legal arguments regarding the International
                         Agreement and its effect on the CBA. Plaintiff has raised no genuine triable issue
              14         of material fact.
              15
                         38. Neither D2 nor the UBC has             38. Undisputed
              16            terminated the International
              17            Agreement as of October 29, 2021.

              18            Graziano Decl. ¶ 5.
              19         39. The International Agreement binds      39. Disputed
                            D2 to follow the CBA’s terms and
              20            conditions, including all               Defendants’ Evidence:
              21            amendments and MOUs, in the             Graziano Decl. ¶¶ 6-7; Araiza Decl., ¶ 7.
                            same manner each collective
              22            bargaining agreement binds any         Evidentiary Objection:
              23            other contractor to the CBA,           Objection under Fed. R. Evid. 1004, 704,
                            regardless of whether D2 is a          401, 602, L-R 7-7, and F. R. Civ. P.
              24            member of an employer association      56(c)(4) to Graziano Decl. ¶ 6 that the
              25            that negotiated the CBA.               International Agreement “binds D2 to
                                                                   follow” certain CBA “terms and
              26              Graziano Decl. ¶¶ 6-7; Araiza Decl., conditions, including all amendments and
              27              ¶ 7.                                 MOUs.”
              28
                                                                   21      DEFS’ REPLY TO PLAINTIFF’S OPPO STMNT
CDF LABOR LAW LLP                                                                              OF GENUINE ISSUES

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                    1      Defendants’ Uncontroverted Facts          Plaintiff’s Response to Cited Fact and
                           and Supporting Evidence (“UMF”)                    Supporting Evidence
                    2                                               Objection under Fed. R. Evid. 1004, 704,
                    3                                               401, 602, L-R 7-7, and F. R. Civ. P.
                                                                    56(c)(4) to Graziano Decl. ¶ 7 that the
                    4
                                                                    International Agreement regarding “the
                    5                                               UBC’s understanding” of a contract and
                                                                    what is “binding upon D2”
                    6
                    7                                               Objection under Fed. R. Evid. 1004, 704,
                                                                    602, L-R 7-7, and F. R. Civ. P. 56(c)(4)
                    8
                                                                    to Araiza Decl. ¶ 7 that that D2 is
                    9                                               “bound by” the CBA, including
                                                                    amendments, that have been
              10
                                                                    “incorporated” therein.
              11         Defendants’ Response
              12         39. Plaintiff does not dispute this uncontroverted fact but merely challenges the
                         sufficiency of the evidence set forth by Defendants establishing this fact with
              13         technical objections. The impropriety of Plaintiff’s objections is addressed in
              14         Defendants’ concurrently filed Response to Plaintiff’s Objections to Defendants’
                         Evidence, including but not limited to the fact that Plaintiff asserts these objections
              15         as an opportunity to advance his legal arguments regarding the International
              16         Agreement and its effect on the CBA. Plaintiff has raised no genuine triable issue
                         of material fact.
              17
              18         40. The Union is an affiliate of the       40. Undisputed
                            UBC.
              19
              20            Graziano Decl. ¶ 6.
                         41. All work that D2 has done in           41. Disputed
              21            geographic regions under the
              22            jurisdiction of the Union is subject    Defendants’ Evidence:
                            to the CBA, including any               Graziano Decl. ¶ 6; Araiza Decl. ¶ 7.
              23            amendments and MOUs to the
              24            CBA.                                    Evidentiary Objection:
                                                                    Objection under Fed. R. Evid. 1004, 704,
              25              Graziano Decl. ¶ 6; Araiza Decl. ¶    401, 602, L-R 7-7, and F. R. Civ.
              26              7.                                    P. 56(c)(4) to Graziano Decl. ¶ 6 that the
                                                                    International Agreement “binds D2 to
              27                                                    follow” certain CBA “terms and
              28                                                    conditions, including all amendments and
                                                                   22      DEFS’ REPLY TO PLAINTIFF’S OPPO STMNT
CDF LABOR LAW LLP                                                                              OF GENUINE ISSUES

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                    1      Defendants’ Uncontroverted Facts         Plaintiff’s Response to Cited Fact and
                           and Supporting Evidence (“UMF”)                   Supporting Evidence
                    2                                               MOUs.”
                    3
                                                                    Objection under Fed. R. Evid. 1004, 704,
                    4
                                                                    602, L-R 7-7, and F. R. Civ. P. 56(c)(4)
                    5                                               to Araiza Decl. ¶ 7 that that D2 is
                                                                    “bound by” the CBA, including
                    6
                                                                    amendments, that have been
                    7                                               “incorporated” therein.
                         Defendants’ Response
                    8
                         41. Plaintiff does not dispute this uncontroverted fact but merely challenges the
                    9    sufficiency of the evidence set forth by Defendants establishing this fact with
                         technical objections. The impropriety of Plaintiff’s objections is addressed in
              10
                         Defendants’ concurrently filed Response to Plaintiff’s Objections to Defendants’
              11         Evidence, including but not limited to the fact that Plaintiff asserts these objections
              12         as an opportunity to advance his legal arguments regarding the International
                         Agreement and its effect on the CBA. Plaintiff has raised no genuine triable issue
              13         of material fact.
              14
                         42. The Union considers all                42. Disputed
              15            amendments, MOUs, and other
              16            written modifications to the CBA to     Defendants’ Evidence:
                            be incorporated into, and a part of,    Araiza Decl. ¶¶ 7-8; Graziano Decl. ¶
              17            the CBA governing all work              6.
              18            performed by Union members
                            within the geographic area              Evidentiary Objection:
              19            described in the CBA.                   Objection under Fed. R. Evid. 1004, 704,
              20                                                    602, L-R 7-7, and F. R. Civ. P. 56(c)(4)
                                                                    to Araiza Decl. ¶ 7 that that D2 is
              21                                                    “bound by” the CBA, including
              22                                                    amendments, that have been
                                                                    “incorporated” therein.
              23
              24                                                    Objection under Fed. R. Evid. 1004, 704,
                                                                    602, L-R 7-7, and F. R. Civ. P.
              25                                                    56(c)(4) to Araiza Decl. ¶ 8 about what
              26                                                    the SWRCC “considers” is the contract’s
                                                                    meaning.
              27
              28                                                    Objection under Fed. R. Evid. 1004, 704,
                                                                   23      DEFS’ REPLY TO PLAINTIFF’S OPPO STMNT
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                    1      Defendants’ Uncontroverted Facts          Plaintiff’s Response to Cited Fact and
                           and Supporting Evidence (“UMF”)                    Supporting Evidence
                    2                                               401, 602, L-R 7-7, and F. R. Civ. P.
                    3                                               56(c)(4) to Graziano Decl. ¶ 6 that the
                                                                    International Agreement “binds D2 to
                    4
                                                                    follow” certain CBA “terms and
                    5                                               conditions, including all amendments and
                                                                    MOUs.”
                    6
                    7    Defendants’ Response
                         42. Plaintiff does not dispute this uncontroverted fact but merely challenges the
                    8    sufficiency of the evidence set forth by Defendants establishing this fact with
                    9    technical objections. The impropriety of Plaintiff’s objections is addressed in
                         Defendants’ concurrently filed Response to Plaintiff’s Objections to Defendants’
              10         Evidence, including but not limited to the fact that Plaintiff asserts these objections
              11         as an opportunity to advance his legal arguments. Plaintiff has raised no genuine
                         triable issue of material fact.
              12
              13         43. It is the UBC’s understanding that     43. Disputed
                            the Memorandum of Understanding
              14            regarding the PAGA waiver               Defendants’ Evidence:
              15            (“PAGA MOU”), executed on               Graziano Decl. ¶ 7.
                            January 4, 2019, is binding upon
              16            D2, in the same manner that any         Evidentiary Objection:
              17            and all other amendments, MOUs,         Objection under Fed. R. Evid. 1004, 704,
                            and other modifications to the CBA      401, 602, L-R 7-7, and F. R. Civ. P.
              18            are binding on D2.                      56(c)(4) to Graziano Decl. ¶ 7 that
              19                                                    the International Agreement regarding
                              Graziano Decl. ¶ 7.                   “the UBC’s understanding” of a contract
              20                                                    and what is “binding upon D2”
              21         Defendants’ Response
                         43. Plaintiff does not dispute this uncontroverted fact but merely challenges the
              22         sufficiency of the evidence set forth by Defendants establishing this fact with
              23         technical objections. The impropriety of Plaintiff’s objections is addressed in
                         Defendants’ concurrently filed Response to Plaintiff’s Objections to Defendants’
              24         Evidence, including but not limited to the fact that Plaintiff asserts these objections
              25         as an opportunity to advance his legal arguments regarding the interpretation of the
                         CBA, its various amendments and modifications, and the International
              26
                         Agreement’s effect on the CBA. Plaintiff has raised no genuine triable issue of
              27         material fact.
              28
                                                                   24      DEFS’ REPLY TO PLAINTIFF’S OPPO STMNT
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                    1     Defendants’ Uncontroverted Facts           Plaintiff’s Response to Cited Fact and
                          and Supporting Evidence (“UMF”)                     Supporting Evidence
                    2    44. The CBA expressly provides for         44. Undisputed
                    3       meal periods.
                    4
                             Wells Decl. ¶ 5, Ex. A at 41-42, Art.
                    5        XI; Araiza Decl. ¶ 4, Ex. A at 40-
                             41, Art. XI.
                    6
                         45. The CBA requires “all disputes         45. Disputed
                    7        concerning the interpretation or
                             application of the Agreement to        “The CBA: as referred to in this alleged
                    8
                             arbitration under this Article VI.”    fact does not state whether it refers to the
                    9                                               version of the CBA as originally
                             Wells Decl. ¶ 5, Ex. A at 33-34, Art. executed in 2016, or to some other
              10
                             VI; Araiza Decl. ¶ 4, Ex. A at 32-     version or amendment yet to be produced
              11             33, Art. VI.                           to Plaintiff during discovery.”
              12         Defendants’ Response
                         45. Plaintiff does not dispute this uncontroverted fact or challenge the sufficiency
              13         of the evidence set forth by Defendants establishing this fact. Plaintiff has raised
              14         no genuine triable issue of material fact. Plaintiff does not appear to be asserting
                         any evidentiary objections, so this UMF 45 is not addressed in Defendants’
              15         concurrently filed Response to Plaintiff’s Objections to Defendants’ Evidence.
              16
                         46. The CBA states that “The parties    46. Undisputed
              17            recognize the applicability of
              18            Industrial Welfare Commission
                            Wage Order 16 to work performed
              19            under this Agreement. Any alleged
              20            violation of Wage Order 16 shall
                            constitute a grievance which shall
              21            be recognized under the grievance
              22            procedure of this Agreement. The
                            grievance procedure detailed in
              23            Article VI shall be the exclusive
              24            method for resolving all alleged
                            violations of Wage Order 16 and the
              25            time limitations of the grievance
              26            procedure shall apply to the extent
                            permitted by applicable local, state
              27            or federal law.”
              28
                                                                   25      DEFS’ REPLY TO PLAINTIFF’S OPPO STMNT
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                    1     Defendants’ Uncontroverted Facts         Plaintiff’s Response to Cited Fact and
                          and Supporting Evidence (“UMF”)                   Supporting Evidence
                    2       Wells Decl. ¶ 5, Ex. A at 42, Art.
                    3       IX; Araiza Decl. ¶ 4, Ex. A at 41,
                            Art. IX.
                    4
                         47. The CBA states that, “When men       47. Undisputed
                    5       are laid off or discharged, they must
                            be paid wages due them at the time
                    6
                            of layoff or discharge.”
                    7
                            Wells Decl. ¶ 5, Ex. A at 40, Art.
                    8
                            IX; Araiza Decl. ¶ 4, Ex. A at 39,
                    9       Art. IX.
                         48. The CBA states that, “In the event 48. Undisputed
              10
                            the Employer fails to pay employees
              11            laid off or discharged, they shall be
              12            paid waiting time at the straight
                            time rate of eight (8) hours per day,
              13            five (5) days per week, until the
              14            time such payment has been made.”

              15            Wells Decl. ¶ 5, Ex. A at 41, Art.
              16            IX; Araiza Decl. ¶ 4, Ex. A at 40,
                            Art. IX.
              17         49. The CBA states that, “All wages      49. Undisputed
              18            shall be paid on a designated
                            weekly payday and in no event shall
              19            the Contractor withhold more than
              20            five (5) working days. If the regular
                            payday falls on a holiday, the
              21            employees shall be paid on the next
              22            regular workday. Employees shall
                            be paid prior to the ending of their
              23            regular shift. In the event an
              24            employee is not paid prior to the
                            ending of his regular scheduled
              25            shift, he shall be compensated in
              26            increments of one-half (½) hour at
                            the applicable overtime rate until
              27            such time as he does receive his
              28            pay.”
                                                                26     DEFS’ REPLY TO PLAINTIFF’S OPPO STMNT
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                    1      Defendants’ Uncontroverted Facts         Plaintiff’s Response to Cited Fact and
                           and Supporting Evidence (“UMF”)                   Supporting Evidence
                    2
                    3         Wells Decl. ¶ 5, Ex. A at 40, Art.
                              IX; Araiza Decl. ¶ 4, Ex. A at 39,
                    4
                              Art. IX.
                    5
                    6
                    7
                    8
                    9
              10         50. The CBA states that, “Carpenters,     50. Undisputed
              11            apprentices and pre-apprentices
                            shall furnish their own tools, but
              12            shall not furnish, rent or lease saw
              13            horses, ladders, miter boxes, electric
                            drills, automotive equipment to be
              14            used for the purpose of hauling or
              15            delivering individual Employers
                            material or equipment, or any kind
              16            of power, cordless, or battery
              17            operated machines or saws. Each
                            employee shall arrive on the job
              18            with tools in proper conditions. To
              19            implement this Section, the
                            individual Carpenter shall provide a
              20            toolbox with a lock. If all or any
              21            part of the employee’s tools are lost
                            by reason of failure of the
              22            individual Employer to provide
              23            such a secure place, or by fire,
                            flood, or theft involving unlawful
              24
                            entry while in the secure place
              25            designated by the individual
                            Employer, the individual Employer
              26
                            shall reimburse such employee for
              27            any such loss.”
              28
                                                                   27    DEFS’ REPLY TO PLAINTIFF’S OPPO STMNT
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                    1      Defendants’ Uncontroverted Facts          Plaintiff’s Response to Cited Fact and
                           and Supporting Evidence (“UMF”)                    Supporting Evidence
                    2        Wells Decl. ¶ 5, Ex. A at 54, Art.
                    3        XVI; Araiza Decl. ¶ 4, Ex. A at 53,
                             Art. XVI.
                    4
                    5
                    6
                         51. The CBA states that, “The              51. Undisputed
                    7       Contractor will furnish for the use
                    8       of his employees any necessary
                            waterproof or foul weather gear,
                    9       safety helmets, or any other
              10            necessary protective clothing as
                            required by CAL-OSHA or the
              11            Contractor. Employees may be held
              12            momentarily responsible for such
                            items properly checked out to them
              13            with the understanding that such
              14            items broken, worn out in normal
                            use, or lost in a manner beyond the
              15
                            control of the employee are
              16            excluded.”
              17
                              Wells Decl. ¶ 5, Ex. A at 55, Art.
              18              XVI; Araiza Decl. ¶ 4, Ex. A at 54,
                              Art. XVI.
              19
              20
                        Dated: December 6, 2021          CDF LABOR LAW LLP
              21                                           Desiree J. Ho
                                                           Rosario R. Stoliker
              22
              23                                         By:
              24                                                           Kent J. Sprinkle
                                                         Attorneys for Defendants
              25                                         ASRC INDUSTRIAL SERVICES, LLC, D2
                                                         (SQUARED) INDUSTRIAL SERVICES, LLC (sued
              26                                         as D2 Industrial Services), and F.D. THOMAS, INC.
              27
              28
                                                                    28    DEFS’ REPLY TO PLAINTIFF’S OPPO STMNT
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